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                                  UNITED STATES DISTRICT COURT
                                      DISTRICT OF COLORADO
                                   Alfred A. Arraj United States Courthouse
                                        901 19th STREET, ROOM A1038
                                         DENVER, COLORADO 80294

  WILEY Y. DANIEL                                                             TELEPHONE: (303) 335-2170
  UNITED STATES SENIOR DISTRICT JUDGE                                         TELECOPIER: (303)335-2178




                                        MEMORANDUM

  TO:            Jeffrey P. Colwell, Clerk
                 Attn: Senior Judge Team

  FROM:          Judge Wiley Y. Daniel

  DATE:          February 7, 2019

  RE:            Civil Action No. 19-cv-00318-WYD
                 DC AUTOMOTIVE, INC. d/b/a ARAPAHOE KIA, a Colorado
                 corporation, and SLT GROUP VI, INC. d/b/a PEAK KIA, a
                 Colorado corporation v. KIA MOTORS AMERICA, INC., a
                 California corporation

        Exercising my prerogative as a Senior Judge, I request that this civil
  action be reassigned.
